Case 21-03003-sgj Doc 46-4 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 1 of 3




                               EXHIBIT 4
Case21-03003-sgj
Case 21-03003-sgjDoc
                 Doc46-4
                     1-1 Filed
                         Filed01/22/21
                               05/21/21 Entered
                                        Entered01/22/21
                                                05/21/2117:50:01
                                                         18:11:45 Page
                                                                  Page22of
                                                                         of33
Case21-03003-sgj
Case 21-03003-sgjDoc
                 Doc46-4
                     1-1 Filed
                         Filed01/22/21
                               05/21/21 Entered
                                        Entered01/22/21
                                                05/21/2117:50:01
                                                         18:11:45 Page
                                                                  Page33of
                                                                         of33
